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 6 Attorneys for Michael A. McConnell,
   Chapter 11 Trustee
 7

 8                         UNITED STATES BANKRUPTCY COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10                                  NORTHERN DIVISION

11                                              Case No.: 9:19-bk-11573-MB

12                                              Chapter 11

13                                            TRUSTEE'S NOTICE OF MOTION AND
                                              MOTION FOR ORDER AUTHORIZING
14                                            THE REJECTION OF OIL PURCHASE
                                              CONTRACTS(CONTRACT NO. COP-003
15                                            FOR BELRIDGE CRUDE OIL AND ALL
                                              AMENDMENTS AND CONTRACT NO.
16                                            COP-004 FOR RICHFIELD HEAVY
                                              CRUDE OIL AND ALL AMENDMENTS)
17                                            WITH CALIFORNIA ASPHALT
                                              PRODUCTION,INC.,FORMERLY
18                                            KNOWN AS SANTA MARIA REFINING
                                              CO. AND GREKA REFINING
19                                            COMPANY; MEMORANDUM OF
                                              POINTS AND AUTHORITIES,
20                                            DECLARATION OF MICHAEL A.
                                              MCCONNELL AND REQUEST FOR
21                                            JUDICIAL NOTICE IN SUPPORT
                                              THEREOF
22
                                                Date:    December 20, 2019
23                                              Time:    10:00 a.m.
                                                Place:   Courtroom 201
24                                                       1415 State Street
                                                         Santa Barbara, CA
25

26

27 ~ TO THE HONORABLE MARTIN BARASH,UNITED STATES BANKRUPTCY JUDGE,

28 CALIFORNIA ASPHALT PRODUCTION,INC.,FORMERLY KNOWN AS SANTA

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     MARIA REFINING CO. AND GRrKA REFINING COMPANY,AND INTERESTED

2 ~ PARTIES:

 3           PLEASE TAKE NOTICE that on December 20, 2019, at 10:00 a.m., Michael A.

4 McConnell, the Chapter 11 trustee (the "Trustee")for the estate of HVI Cat Canyon,Inc.(the

5 "Debtor"), hereby moves(the "Motion")for an order authorizing the Trustee to reject certain crude

 C oil purchase contracts with California Asphalt Production, Inc., formerly known as Santa Maria

 7 Refining Co. and Greka Refining Company, as follows:(1) Crude Oil Purchase Contract —

 8 Contract No. COP-003, and all amendments,for Richfield crude oil(Redu); and (2) Crude Oil

9 Purchase Contract —Contract No. COP-004, and all amendments, for Belridge heavy crude oil.

10           The Trustee requests that the rejection be effective as ofthe date offiling the Motion (i.e.,

1 1 November 27, 2019).

12           This Motion is based upon the accompanying Memorandum of Points and Authorities, the

13 accompanying Declaration of Michael A. McConnell and the Request for Judicial Notice, the

14 separately-filed Declaration of Tim Skillman, the papers and pleadings on file in this case, and such

15 other evidence that may be presented to the Court.

16           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

17 1(a)(7), any opposition to the Motion must be in writing in the format required by the Local

18 Bankruptcy Rules, filed with the Clerk of the Court and served upon counsel for the Trustee, at the

19 address in the upper left corner ofthe face ofthis Notice, upon the United States Trustee, 1415

2U State Street, Suite 148, Santa Barbara, CA 93101, not less than fourteen(14)days before the

21   hearing. Failure to comply with this procedure may be deemed consent to the granting ofthe relief

22 requested.

23 DATED: November~i~, 2019                     DAMNING,GILL,ISRAEL & KRASNOFF,LLP

24

25
                                                By:
26                                                    AARON         E LEEST
                                                      Attorneys for Michael A. McConnell,
27                                                    as Chapter 11 Trustee
28

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 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                       I.
 3                                          BACKGROUND FACTS
4 A.           The Bankruntcv Case
 5             The Debtor is a Colorado corporation authorized to conduct business in the state of

       California. It is the owner and operator of producing oil and gas interests in California.
 7             On July 25, 2019, the Debtor filed a voluntary petition for relief under Chapter 11 of title 11
 8 of the United States Code (the "Bankruptcy Code"). The case was originally filed in the Southern

 9 District of New York. The case was transferred to the Northern District of Texas, and then later to

10 the Central District of California.

11             The Debtor initially operated its business as a "debtor in possession," until on or about
12 October 16, 2019, when the Court entered its Agreed Order Granting Motion for Appointment of a

13 Chapter 11 Trustee. On or about October 21, 2019, the Court approved the appointment of

14 Michael A. McConnell as the Chapter 11 trustee in this case.

15             On or about August 9, 2019, an Official Creditor's Committee was appointed.
16 A.          Facts Specific to the Requested Relief
17             The Debtor's schedule G (docket no. 171) reflects that it was a party to certain executory
18 contracts and unexpired leases with a number of entities, including its affiliate California Asphalt

19 Production, Inc., formerly known as Santa Maria Refining Co. and Greka Refining Company

20 ("CAP"). A copy ofthe Debtor's schedule G is attached as Exhibit "1" to the Request for Judicial

21     Notice.~
22             The contracts are for CAP's purchase of crude oil, including marketing and handling fees,
23 from the Debtor's leases in the Richfield East Dome Unit in Orange County, California

24 ~ ("Richfield") and in North Belridge in Kern County, California ("Belridge") as follows:

25              1.       Crude Oil Purchase Contract —Contract No. COP-003, and all amendments,for
26
       ~ Nos. 2.6(Kern County, CA)and 2.8 (Orange County, CA)on the Debtor's attachment to
27
       Schedule G.
28 I

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 1 Richfield crude oil (collectively, the "Richfield Contracts").

 2            2.       Crude Oil Purchase Contract —Contract No. COP-004, and all amendments, for

 3 Belridge heavy crude oil (collectively, the "Belridge Contracts").

 4            Copies of the Richfield Contracts and Belridge Contracts are attached as Exhibit "2" and

 5 "3" to the Trustee's Declaration.

 6            On or about July 30, 2019, the Debtor filed the Motion OfDebtor Pursuant to I1 U.S.C. ~~

 7 105(A), 363(B), and 363(C) and Fed. R. Bankr~. P. 6003 and 6004 For (I) Interim and Final

 8 Authority to (A) Continue Existing Cash Management System,(B)Honor CeNtain Prepetition

 9 Obligations Related Thereto, and(C)Maintain Business Forms and Existing Bank Accounts and

10 (II) Related Relief(docket no. 1~ (the "Cash Management Motion"). Copies of the Richfield

1 1 Contracts and Belridge Contracts were attached to the Cash Management Motion as Exhibit"D" at

12 ~~ pgs. 27-38.

13            Among other relief, the Cash Management Motion sought relief to perform under the

14 '~ Richfield Contracts and Belridge Contracts, among others disclosed in the Cash Management

15 Motion (defined in the Cash Management Motion as the "CAP Agreements"), in the ordinary

16 course of business. See docket no. 16 at pg. 9.

17            The final order approving the Cash Management Motion, entered on October 21, 2019

18 (docket no. 41~, specifically ordered that "nothing contained in the [Cash Management] Motion,

19 the Interim Order, this Final Order, or any payment made pursuant to the authority granted by this

20 Final Order, is intended to be or shall be construed as . . . (iii) approval or assumption of any

21 agreement, contract, program, policy, or lease under section 365 of the Bankruptcy Code". See

22 docket nn. 41h at pg. 7.

23            The Trustee now seeks to reject two of the contracts listed on schedule G between the

24 Debtor and CAP, and all amendments thereto.

25            As discussed below, the Trustee believes that it is now appropriate to reject Richfield

26 Contracts and Belridge Contracts.

27
►:

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 1                                                     II.

 2                                               ARGUMENT

 3 A.        THE COURT SHOULD AUTHORIZE THE TRUSTEE TO REJECT THE

 4           CONTRACTS

 5           Section 365(a) of the Bankruptcy Code provides in relevant part that with certain

 6 exceptions under sections 765 and 766 and sections 365(b),(c), and (d)(all of which are not

 7 applicable here), the Trustee, subject to the Court's approval, may reject any executory contract or

 8 unexpired lease of the debtor. 11 U.S.C. § 365(a).

 9           Rule 6006(a)ofthe Federal Rule of Bankruptcy Procedure provides in relevant part that a

10 proceeding to reject an executory contract or unexpired lease is governed by Fed. R. Bankr. P.

1 1 9014. Rule 6006(c) provides in relevant part that notice of a motion to reject a lease must be given

12 to the other party to the contract or lease, other parties in interest as the Court may direct, and the

13 United States Trustee.

14           The Bankruptcy Code does not set forth explicit guidelines for courts to apply in

15 determining whether to approve the decision of a trustee to reject an executory contract or

16 unexpired lease. Courts generally have applied the "business judgment" test when reviewing such

17 decisions. See, e.g., Group oflnstitutionallnvestors v. Chicago, Mil., St. P.& P.R.R., 318 U.S.

18 ~' 523, 550(1943); Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309(5th Cir.

19 1985), cent. den., 475 U.S. 1057(1986); In re Richmond Metal Finishers, Inc., 756 F.2d 1043,

20 1046-47 (4th Cir. 1985); In re MingeN,602 F.2d 38, 43(2d Cir. 1979); In re Tilco, Inc., 558 F.2d

21   1369, 1372(10th Cir. 1977). In Group oflnstitutional Inv. v. Chicago, MIL., St. P.& P.R.R., the

22 Supreme Court addressed the issue ofthe standards involving the assumptions of executory

23 contracts or unexpired leases, and stated that "the question whether a lease should be rejected and if

24 not on what terms it should be assumed is one of business judgment." Group ofInstitutional Inv. v.

25 Chicago, Mil., St. P.& P.R.R., 318 U.S. at 550.

26           As the above authorities state, a trustee is granted wide latitude in determining whether to

27 assume or reject an unexpired lease or executory contract. "In any event, court approval under

28 Section 365(a), if required, except in extraordinary situations, should be granted as a matter of

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1    course." In re Summit Land Company, 13 B.R. 310, 315 (Bankr. D. Utah 1981). The Court in

2 Summit explained that this rule, among other things, not only places responsibility for

3 administering the estate upon the trustee, not the court, and therefore furthers the policy ofjudicial

4 independence considered vital by the authors of the Bankruptcy Code, but also expedites the

5 administration of estates, another goal of the Bankruptcy Code. Id.

6            The Trustee's decision to reject the Richfield Contracts and Belridge Contracts is a sound

7 exercise of his business judgment. In particular, CAP is not paying the Trustee most of the

8 amounts that are due under all of its agreements, including the Richfield Contracts and Belridge
                                                                                          ly
9 Contracts, for October 2019, which were due on November 20, 2019. CAP has also improper
                                                                                     other
10 setofffrom the amounts due thereunder for sums that are due to CAP and may be due
                                                                                            November
11   affiliates, including GTL 1, LLC and GIT, Inc. The Trustee is also now informed, as of
                                                                                                     Debtor
12 26, 2019, that CAP does not have the ability to pay the outstanding amounts that are due the
                                                                                                 from
13 for October 2019. It is unclear the extent to which the Trustee will receive further payments
                                                                                           of CAP's
14 CAP generally, including under the Richfield Contracts and Belridge Contracts. In light
                                                                                                and
15 failure to pay the Trustee for the amounts that are now due under the Richfield Contracts
                                                                                        oil    and can no
16 Belridge Contracts, the Trustee must look to other purchasers for the Debtor's crude
                                                                                           that it is
17 longer sell such oil to CAP.2 Therefore, the Trustee believes, in his business judgment
                                                                                           of this
18 now appropriate to reject the Richfield Contracts and Belridge Contracts as of the date

19 Motion.

20 B.         Resection as of the Date of the Motion is Appropriate

21            Under the circumstances of this case, the Court's order authorizing rejection of the
                                                                                     of this     Motion
22 Richfield Contracts and Belridge Contracts should be made retroactive to the date
                                                                                         rejection
23 (i.e., November 27, 2019). The Court may exercise its equitable powers to approve the
                                                                                    (9th Cir. 2004).
24 under section 365(a) retroactively. See In re At Home Corp., 392 F.3d 1064, 1067
                                                                                      is    not being paid
25 Retroactive rejection is appropriate here because, among other things, the Trustee

26
                                                                                              sums due
   2 Of course, the Trustee reserves all rights and remedies against CAP and other to collect
27
   and unwind all avoidable transfer and setoffs, and otherwise.
28

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 1 by CAP for most of the amounts due under the Richfield Contracts and Belridge Contracts and the

 2 Trustee must look to other purchasers for the Debtor's oil and other products. Accordingly, the

 3 Trustee requests that the rejection be effective as ofthe date of the filing of this Motion.

 4

 5                                                        II.

 6                                                CONCLUSION

 7              For the foregoing reasons, the Trustee requests that the Court enter the order authorizing the

 8 Trustee to reject the Richfield Contracts and Belridge Contracts as of the date ofthe filing of this

 9 Motion. The Trustee also requests such other and further relief as is just and proper under the

10 I circumstances.

11 ~

12 DATED: November ~~,2019                         DAMNING, GILL,ISRAEL & KRASNOFF,LLP
13

14
                                                   By:
15                                                       AARON . DE LEEST
                                                         Attorneys for Michael A. McConnell,
16                                                       Chapter 11 Trustee
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 1                            DECLARATION OF MICHAEL A. MCCONNELL

 2           I, Michael A. McConnell, declare as follows:

 3           1.        I am over eighteen years of age, and I have personal knowledge of the facts in this

 4 declaration and, if called as a witness, could testify competently that the facts stated in this

 5 declaration are true and correct to the best of my knowledge and information.

 6           2.        I am the Chapter 11 Trustee of the Bankruptcy Estate of HVI Cat Canyon, Inc.(the

 7 "Debtor").

 8           3.        The Debtor is a Colorado corporation authorized to conduct business in the state of

 9 California. It is the owner and operator of producing oil and gas interests in California.

10           4.        On or about October 22, 2019, the Court approved my appointment as the Chapter

11   1 1 trustee in this case.

12           5.        The Debtor's schedule G reflects that it was a party to certain executory contracts

13 and unexpired leases with a number of entities, including its affiliate California Asphalt

14 Production, Inc., formerly known as Santa Maria Refining Co. and Greka Refining Company

15 ("CAP").

16           6.        Two such contracts are for CAP's purchase of crude oil from the Debtor's leases in

17 the Richfield East Dome Unit in Orange County, California ("Richfield") and in North Belridge in

18 Kern County, California ("Belridge") as follows:

19                     a.        Crude Oil Purchase Contract —Contract No. COP-003, and all amendments,

20 for Richfield crude oil (collectively, the "Richfield Contracts").

21                     b.        Crude Oil Purchase Contract —Contract No. COP-004, and all amendments,

22 for Belridge heavy crude oil (collectively, the "Belridge Contracts").

23           7.        True and correct copies ofthe Richfield Contracts and Belridge Contracts are

24 attached as Exhibit "2" and "3" hereto

25           8.        Following my appointment, CAP failed to perform under the terms ofthe Richfield

26 Contracts and Belridge Contracts. In particular, CAP is not paying me for most of the amounts that

27 are due under all of the agreements, including the Richfield Contracts and Belridge Contracts,

28 including for October 2019. CAP has also improperly setofffrom the amounts that are due from all

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    1      of the agreements, including the Richfield Contracts and Belridge Contracts, for sums that are clue

    2 to CAP and may be due other affiliates, including GTLI,LLC and GIT, Inc.

    3              9,        I am also now informed that, as ofNovember 26, 2019, CAP does not have the

    4 ability to pay the outstanding amounts that are due the Debtor for October 2019. It is unclear the

    5 extent to which I will receive further payments from CAP generally, including under the Richfield

    6 Contracts and Belridge Contracts.

    7              10,       In light of CAP's failure to pay for the amounts that are now due under the Richfield

    8 Contracts and Belridge Contracts I believe that I must look to other purchasers for the Debtor's

    9 crude oil and can no longer sell such oil to CAP. Therefore, I believe, in my business judgment

   10 that it is now appropriate to reject the Richfield Contracts and Belridge Contracts.

   11

   12              I declare under penalty of perjury under the laws of the United States that the foregoing is

   13 true and correct to the best of my knowledge, information and belief.
                                            +~1,.
   14        Cxecuted on November~7,2019 at Fort Worth, Texas.

   15

   16

   17                                                                                   ~~
   rg                                                         MICHAEL A. MCCON ELL

   Z9

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 1                                    REQUEST FOR JUDICIAL NOTICE

2            Michael A. McConnell,the Chapter 11 trustee (the "Trustee")for the estate of HVI Cat

3 Canyon, Inc.(the "Debtor"), requests that the Court take judicial notice ofthe following:

4             1.        On July 25, 2019, the Debtor filed a voluntary petition for relief under Chapter 11 of

 5   title 11 of the Llnited States Code.

6            2.         The Debtor filed its petition in the Southern District of New York. The case was

 7 transferred to the Northern District of Texas, and then later to the Central District of California.

 8           3.         The Debtor initially operated its business as a "debtor in possession."

 9           4.         On or about July 30,2019, the Debtor filed the Motion OfDebtor Pursuant to I1

10 U.S C. ~~ 105(A), 363(B), and 363(C) and Fed. R. Bankr. P. 6003 and 6004 For (I) Interim and

11   Final Authority to (A) Continue Existing Cash Management System,(B)Honor Certain Prepetition

12 Obligations Related Thereto, and(C) Maintain Business Forms and Existing Bank Accounts and

13 (II) Related Relief(docket no. 1~ (the "Cash Management Motion"). Copies ofthe contracts

14 between California Asphalt Production, Inc., formerly known as Santa Maria Refining Co. and

15 Greka Refining Company, were attached by the Debtor as Exhibit D to the Cash Management

16 Motion.

17            5.        On or about August 9, 2019, an Official Creditor's Committee was appointed.

18            6.        On or about September 9, 2019, the Debtor filed its schedule G (docket no. 171),

19 which includes the Debtor's interests as a lessee in numerous surface leases, and other types of

20 leases. A true and correct copy ofthe Debtor's Schedule G is attached hereto as Exhibit "1."

21            7.        On or about October 16, 2019,the Court entered its Agreed Order Granting Motion

22 for Appointment of a Chapter 11 Trustee.

23            8.        On October 21, 2019(docket no. 41~,the Court entered the final order approving

24 the Cash Management Motion, which specifically ordered that "nothing contained in the [Cash

25 Management] Motion, the Interim Order, this Final Order, or any payment made pursuant to the

26 authority granted by this Final Order, is intended to be or shall be construed as ...(iii) approval or

27 assumption of any agreement, contract, program, policy, orlease under section 365 ofthe

28 Banlcruptcy Code". See docket no. 416 at pg. 7.

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 1           9.        On or about October 22, 2019,the Court approved the appointment of Michael A.

2 McConnell as the Chapter 11 trustee in this case.

3

4 DATED: November ~~,2019                       DAMNING, GILL,ISRAEL & KRASNOFF,LLP

5

6                                                                      ~
                                                By:
7                                                     AARON E. E LEEST
                                                      Attorneys for Michael A. McConnell, Chapter 11
8                                                     Trustee
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                              EXHIBIT "1"
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    Debtor name HVI Cat Canyon, Inc.

                                                  NOffh@~Il              District of     TX
     United States Bankruptcy Court for the:
                                                                                       (State)
    Case number (If known):            19-32857                           Chapter


                                                                                                                                         ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15

                                                                                                                 the entries consecutively.
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering

     1. Does the debtor have any executory contracts or unexpired leases?
                                                                                                                                     this form.
        ❑ No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on
                                                                                               on Schedule A/8: Assets -Real and  Personal  Property (Official
        0 Yes. Fill in all of the information below even if the contracts or leases are listed
                Form 206A/B).
    2. List all contracts and unexpired leases                                                   State the name and mailing address for all other parties with
                                                                                                 whom the debtor has an executory contract or unexpired lease


        ~ State what the contract or                See attachment
   2.1 I lease is for and the nature
        i of the debtor's interest
     _. }
          State the term remaining
                    List the contract number of
                    any government contract


                    State what the contract or
   2.2              lease is for and the nature
                    of the debtor's interest

                    State the term remaining
                    List the contract number of
                    any government contract
.................
                    State what the contract or
    2.3             lease is for and the nature
                    of the debtor's interest

                    State the term remaining
                    List the contract number of
                    any government contract


                    State what the contract or
    24
                    lease is for and the nature
                    of the debtor's interest

                    State the term remaining
                    List the contract number of
                    any government contract
    _..._...
                    State what the contract or
     2.5            lease is for and the nature
                    of the debtor's interest

                    State the term remaining
                    List the contract number of
                    any government contract



                                                                                   O ~~                ~11i1~LAl~
                                                       Schedule G: Executory Contracts and Unexpired Leases                                    page 1 of
 Official Form 206G
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                                                   Debtor. HVI Cat Canyon,lnc
                                                                                                                                                                                          Attachment to Schedule G
                                                                                                                                                                                               (Page 1 of 2)
                                                                                                                              Nal~re of HVI'S interest in the                             Go~ttnment       ICo~~tuDarty name
                                                                                                                              cont~aci o~ lease                                           contract No.. 11
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                                                      2.1 Santa Barbara County,CA                                             Seller                             5/31/2020, evergreen                     California Asphalt Production, Inc.                               PO BOx 5489, Sdfl[d Mdf~d,(:4 Yi4~b
                                                      2.2 Santa Bartaro County,CA     85&W,Cold CruCe delivery                Seiler                                        evergreen                    Glifornia Asphali Production, Inc                                  PO eox 5489,Santa Maria, C4 93x56
                                                      2.3 Santa Barbara County,CA     Waste Gaz delivery                      Transferor                                    evergreen                    Glitomia Asphalt Production,Inc                                    PO Box 5489,Santa Maria, CA 93456
                                                      2.a Santa earbaa County,fA      LCR supply                              Buyer                                         evergreen                     Caiifomia!phak Production,lnc                                     PO Box 5489,Santa Maria, CA 93456
                                                      25 Sanb Barbara County,CA       Not Load wpply                          Buyer                                         evergreen                     Ulifomia Asphalt Production,Inc                                   PO Bar 5489,Santa Mana,CA 93456
                                                      2.6 Kem County, Cq              Uude Oil ales                           Seller                                        evergreen                     Ulifornia Asphalt Production,Inc                                  PO Box 5489.Santa Maria, CP.93456
                                                      2.7 Kem CAunry, CA              Gas sales                               Seller                                        evergreen                     Ae2 Enefgy, LLC                                                   10000 Ming Ave., Bake~eld,CA 93311
                                                      2.8 orange County, CA           Dude Oil sales                          Seller                                        evergreen                     California Asphalt Production, Inc.                               PO Boz 5489,Sanw Maria,CA 93456
                                                      29                              Oil &Gas well bond                      Prindpal                                      evergreen                     Fidelity &Deposit Company of MarylaiM                             PO Box 1227, Baltimore, MD 21203
                                                     2.10                             Surety bond                             PrinUpal                                      evergreen                     Fidelity &Deposit Company of Maryland                             PO Box 3227, Baltimore, MD 21203
                                                     Z.0                              Uahility, umhrelda insurance            Insured                                       u/uzois                       Markel I~rtemational Msurance Company Limited                     c%1H Blades,520 Oak BNd..Su@e 750,HouRon,7X77@7
                                                     2.12                             Property insurarce                      Insured                                      u/zuzou                        Uayd's London                                                     c% Worldwide Fadlfties, LLC,8 Greenway Plaza,Suite 404, Xouston,T7( 77046
                                                     2.13                             Workers Compeosa[ion                    ~~~ed                                         u/lno~s                       State Wmpenution Insu2nce Fund                                    PO Box 8192. Pleasanton,fA 94588
                                                     2.14                             Insurance premium finan_e               Inwred                                        32/1/2019                     South Bay Acceptance Corp.                                        PO Box 639299,Gnannati,OH 45263
                                                     zss                              Settlement / Esrow                      Deposrcor                                                                   Unocal                                                            c%Todd Littleworth,6001 Bollinger Canyon Rd.,San Ramon,CA 945Hi
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                                                     2.16                             Settlement / Esrow                      Depositor                                                                   Reetz Fox Bartlett, LLP                                           116 E Solo St,Santa Bar6aa, CA 93101
                                                     zv                               G&A services                            a~e~:                                          evergreen                    GR,Inc                                                            PO Box 5469,Santa Maria, CA 93456
                                                     2.18                             Tax Sharing                             Member                                 while in tax group                   GIT, Inc                                                          PO Boz 5489,SanU Maria, CA 93456
                                                     2.19                             Settlement/ Installment sntract         Payw                                     16 installmenu                     West Coast Welding                                                2201 Celsius Avenue,Building B,O~mard, CA 93030
                                                     2.20 Oange WuMy,CA               Unit Agreement                          Operator/Working Interot Owner        held by production                    induded in Schedule E/F
                                                     2.21 O2nge County,CA             Unit OOerating Fgreement                Operator/Working Interest Owner   held by Unk Agreement                     included in Schedule E/f
                                                     2.22 Kem County, CA              Fertility Air Permit To Operste         Pertni[ee                                                                   San Joaquin Valley Air Pollution Control District                 34946 Flyover Court, Bakefield, Cr193306
                                                     213 Kern Counq,CP.               Commercial Madulaf Aegisvation          Permitee                                                                    Departrnent of Housing & Community Development                    2700 M Street,Suite 250, Baker~eld,0493301-2370
                                                     2.2a Kem County,fq               Gerrerstlon of Herz Waste EPA-ID        Permitee                                                                    Department of Toric Subrtance Control                             PO Bmc 806,Sacramento,CA 95832-0806
                                                                                                                                                                                                                                                                                                                                                           `
                                                                                                                                                                                                                                                                                                                                                           J~
                                                     2.25 Kem County, CA              ApOroval5/Pfojett Permits To CAnduQ     Permitee                                                                    Department of Conservation Divivon Of Oii, Gas and Geothermal     801 K St., MS 24-03,Sauamento,CA 95814
                                                                                      well OceraUons                                                                                                      aecources                                                                                                                                        T~
                                                     226 Kem County,CA
                                                     227 Orange County, CA
                                                                                      Permit To Operate Regulated Materials
                                                                                      Uude Oil Wells iS26)
                                                                                                                              Pertni[ee
                                                                                                                              Permitee
                                                                                                                                                                                                          Public MeaIM Services Environmental Health Div.
                                                                                                                                                                                                          South Coast Air Quality Management Dis[riR
                                                                                                                                                                                                                                                                            2700 M Sveet,Suite 300, Bakersfield, CA 93301-2370
                                                                                                                                                                                                                                                                            21865 CODIey Drive, Diamond Bar,fA 91765                                       0
                                                                                                                                                                                                                                                                            21865 Copley Drive, Diamond Bar,fA 91765
Main Document




                                                     2.28 Orange County,CA            Facility Air Perrtit To Operate         Permitee                                                                    South Coast Air Quality Management District
                                                     2.29 Orange County,CA            Oil Storage Tanla Business License      Permitee                                                                    Gry of Placentia                                                  401 E Chapman,Placentia, CA 92870
                                                     L30 Oange fnumy,CA               Oil Wells Bu4ness Certificate           Permitee                                                                    Gry of Yor6a Linda                                                4845 Casa Loma Ave., Yor6a tintla, CA 92886
                                                     2.31 Orange County,G             Fre Authority Permit                    Permitee                                                                    Oange County Fre AutMiM1y                                         1 Fre Authority Road,Irvine ,CA 92602
                                                     2.32 Orange Ccunry,CA            ApDroval5/Project Permits To ConduR     Pertnitee                                                                   Deparvnent of Conservation Division Of Oil, Gas and Geothermal    801 K St, MS 24-03,Sacramento,fA 95814
                                                                                      Well ocerations                                                                                                     Resources
                                                     2.33 Orange County. CA           Generation of Haz Waste EPA-ID          Permitee                                                                    Deparbnent of Towc Substance Control                              PO Bar 806,Sacramento,fA 95812-0806
                                                     2,34 Orange founty,fA            NPA Haz Mat Disclosure                  Permitee                                                                    Orsnge County Health Gre Agency                                   1241 Eart Dyer Rd.,Suite 120,Sant Ma,CA 92705
                                                     235 Orange County,CA             Permit To Operste Air Pressure Tank     Permi[ee                                                                    State of Caiitornia DOSH                                          7515 Clay St., Suite 1302, Oakland,CA 94632
                                                     L36 Orange County, CA            Permit Ta Operate Air Pressure Tank     Pertnitee                                                                   State of GIrfornia DOSH                                           1515 Clay Sc,Suite 1302,Oaldand, CA 96612
                                                     2.37 Orange County, CA           Permit To Open[e Air Pressure Tank      Pefmitee                                                                    SUM of UI'rfomia DOSH                                             1515 qay St., Suite 3302,Oakland,CA 94612
                                                     238 Orange Wunty,CA              Permit To Operate Air Pressure Tank      Permitee                                                                   State of Wiifornia DOSH                                           1535 Clay St,Suite 1302, Oakland,CA 99632
                                                     239 Sanb Barbara County,CA       Permk to Operzte                         Pertnitee                                                                  Sans Barhaa County Air Pollution Control oimict                   260 North Antonia Road,SuRe A Santa Barbara, CA 93110
                                                     2.x0 Santa Barbara County,CA      Stofm Water Pgrmit/4Vazte Pile          Permitee                                                                   Central Coast 0.egional Water Quality Wntrol Board                895 Aerovista Place,Suite 101,San Luis Obispo, CA 93GO1J906
                                                                                       Mana¢ement FatilitV/Rmd Protects
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                                                     2.41 Santa Barbaro Wunty,CA       GenMation of Maz Waste EPA-ID           Permitee                                                                    Department of Toxic Substance Control                             PO Box 806,Sacramento, CA 95872-0806
                                                     2.42 Sarah Barbara County,CA      Mnual Hazardau Materials Permit         Permitee                                                                   Santa Barbara County Environmental Health Services                 2125 5. Centerpoinie Parkway,Suite 333,Santa Marla,fA 93455
                                                     2.43 Santa Barbara County,fA      Hot Work Permit/ Faciliy Fire Permit    Permitee                                                                   Santa Barbera County Fre Department                                4430 Cathed2l Oaks Rd.,Santa Barbara, CA 93130
                                                     2.44 Sane Barbara Courtry,fA      Unified Progrsm Fadlity Permit          Permi[ee                                                                    Santa Barbara County Hazmat/Environmental Health Services         2125 S. Centerpointe Parkway,Suite 333,Santa Maria,CA 93655
                                                      2.45 Santa Bar6aa County,CA      Permit to Operate Air Pressure Tank     Permi[ee                                                                    State of California DOSH                                          1515 day St,Suite 1302,Oakland, CA 94612
                                                      2.46 Santa Barbara County,CA     ElecGiral Mainnenance Permit            Permitee                                                                    Santa Barbera County Building &Safety Division                    123 E. Anapamu Street, Santa Barbara,CA 93101
                                                      2.47 Santa Barbaro County, CA    Wnd Use PermR                           Permitee                                                                    Santa 8arbaa County Planning &Development Dept                    12i E. Mapamu Saeet,Sane Barbaro, CA 93101
                                                      2.48 Santa Barbara County, CA    Approvals/Project Permits To Conduct    Permitee                                                                    Department of Conservatlon Division Of Oil, Gas and Geothermal    801 K St., MS 24-03, Sacramento,fA 95816
                                                                                       WellOcerations                                                                                                      Resourtez
                                                                                                     Case 9:19-bk-11573-MB                                            Doc 171 Filed 09/09/19 Entered 09/09/19 08:34:12                                                                        Desc
                                                                                                                                                                      Main Document    Page 271 of 316
                                                   Debtol: HVI Cat Canyon,InC.                                                                                                                                                                                                                               Case number(if known)19.32857
Desc




                                                                                                                                                                                      Attachment to Schedule G
                                                                                                                                                                                           (Page 2 of 2)
                                                     No.IS[c ~cfe~env                 IDexriOt~on of contract or Icas!          N~turc of HVI's interest in the         T~•rm r~.maining fipv<mment ICounteryBRy name                                          Countcrpa~ty ndtlress ~1)                                        —   —
                                                                                                                                 entract or ica>C                                         ontract No., ~f
                                                     2.49 Kern County, CA             license Agree ent9/24/07                 Lessee(G2n[ee)                                                         Aera Energy, LLC                                         10000 Ming Ave., Bakersfeld,CA 93311
Doc 573 Filed 11/27/19 Entered 11/27/19 14:28:16




                                                     250 Orange County,CA             Surface Lease 3/1/71, Book 9701,Page 381 Lesue(Gantee)                                                          Frank and Sylvia eoisseranc                              300 W.Paseo De Girtobal,San Clemente,CA 92672
                                                     2.51 Orange County. CA           Surface Rental agreement 32/31/71. Book   Lessee(G2ntee)                                                        Buganko                                                  PO Boz 8042, Mammoth lakes,CA 93546
                                                                                      13056.7a¢e 1473
                                                     2.52 Orange Wunty,CA             Agreement 7/]/72                          Lessee(Gantee)                                                        Lois Etchandy                                            340 Strada Place, Maehim,CA 92807
                                                     253 Orange Coumy,Crl             Agreement 7/1/72                          Lessee(Gantee)                                                        Dominique C Etchandy                                     7R W.Town &Country Rd.,Oange CA 92868
                                                     2.54 Orange County,CA            Agreement 7/1/72                          Lessee(Gantee)                                                        R.D. Etchancy Trustee                                    315 5. Ya Montenaro,Maheim,CA 92807
                                                     255 Orange County,CA             Agreement 7/]J72                          Lessee (Grantees                                                      State College, LLC                                       2345 NW Hayes Ave., Corvallis, OR 97330
                                                     256 Orange Courtly,CA            Gent of Easement dint Surface Use         Lessee(GaMee)                                                         Guarantee Royahes, Inc. and taor Liquidating Assoc       4640 Admiralty Way,Suite 700, Marina DeI Rey, CA 90292
                                                                                      3/U09.#2009000143928
                                                     2.57 Orange County,CA            Surtace Lease :J9/J3, Bw 10366,Page 53    lessee(Gantee)                                                        Rederick D. Thomwn,Jr.                                   824 Avalon tt,San Diego,fA 92109
                                                     2.58 Orange County, CA            Surtace Lease :/9/71,ego 30368,Page 53 lessee(Garrtee~                                                         Leigh T. Medema                                          3401 Cascina Circle UnR ly Highlands Ranch,GO 80126
                                                     2.59 02nge Coumy,CA               Surface Lease:/9/71,Bx 10368,Page 53 lessee(G2n[ee)                                                            Michael MCWughlin                                        3840 N. Woodridge Way,Flagstaff,lS 88004
                                                     2.60 Orange County,CA             Surface Lease :/9/71, Boo 10368, Page 53 lessee(Grantee)                                                       1im Mclaughlin                                           1127 Buckingham Dr., HF,Corta Mesa,C4 92626
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                                                     2.61 Orange County,CA             Surface Lease :/9/71, Bao 10366, Page 53 lessee(Grantee)                                                       Sean McWughlin                                           17101 Springdale SY., Apt.125, Huntington Bexh,fA 92649
                                                     2.62 Santa Barbara County,fA      PipHine Lease                            Lessee(Gantee)                                                        Adam Family Tnut                                         21015inton Rd.,Santa Maria,CA 93456
                                                     2.635anta Barbara County,fA       License Agreement 9/5,2000               Lessee(GrzMee)                                                        Orcutt Fee, LLC                                          15550rwtt Hill Rd.,Orcut[,fA 93455
                                                     2.64 Santa 8arharo County,CA      MC-70023 Easement and Right of Way       Lessee(Grantee)                                                       Marianne Friedl                                  ~       2053AStree[,Santa Maria,CA 93455
                                                                                       A¢reement 12/19/83
                                                     2.65 SanU BarMara County,CA       Right of Way Pgreemer[ 3/19/64           Lessee Grantee)                                                       CMT,LLC                                                  865 Sage Gest Rd.,Santa Maria,CA 93455
                                                     2.66 SanU Barbara County,CA       MQ01319 Right of War Agreement           lessee(Grentee)                                                       Manned Sander                                            PO Box 593,Santa Maria,CA 93456
                                                     267 Santa earbarz County,CA       MC661625urtace Lease                     Lessee (Grarrtee)                                                     E&e Natual Resources                                     3600 Norcis Rd.,eake~eld,CA 93308
                                                     2.66 Santa earba2 Wunty,CA        Surtace Lease Agreement 32/1/95          Lessee(Gantee)                                                        Grundoon, LLC                                            620 McMuray Rd., Buellton,fA 93427
                                                     2.69 Santa Barham County,fA       letter of Authoraa[ion 8/20/43           Lessee(Grsntee)                                                       Morganti Ranch                                           PO Box 2075,Orcutt, CA 93657
                                                                                                                                                                                                                                                               PO Box 678161 Dallas,iX 75267                                                 0
                                                     2.70 Sa'rca Barhars County,fA     Agreement 1279/65                        Leuee(G2ntee)                                                         Railroad Management Company
                                                     2.71 Santa Barbara County,CA      Right of Way Agreement 11/9/01           lessee(Gantee)                                                        Paul T. Righetti                                         7476 Gatiosa Rd.,Santa Maria,fA 93455
Main Document




                                                     2.72 Santa Barbara County,CA      Right of Way Pgreemen[ 13/9/01           lessee(6antee)                                                        Paul A Righetti, R. Fowler &Timothy Righetii, Trustees   7476 G2dosa Rd., Santa Maria,fA 93455
                                                     2.73 Santa Barbara County, CA     Right of Way Agreement 11/9/01           Lessee(Gantee)                                                        Itighetti Family Trust                                   7476 G2ciosa Rd., Santa Marfa,CA 93455
                                                     2.74 Santa Bartaa County,fA       Right of Way Pgreement 11/9/Ol           Lessee(G2ntee)                                                        Pyche 2000 Tres[                                         7476 Gradou Rd.,SanU Maria,CA 93455
                                                     2.75 SanU Barbara County.~        Right of Way Pgreement 11/23/92          Lessee(6rantee)                                                       Judy A Rogers                                            PO Box 234.Santa Maria,fA 93456
                                                     2.76 Santa Barbara County,CA       Right of Way Agreement 11/23/92         Lessee(Gantee)                                                        Ronald H.Souu,Jr.                                        PO Bo~~ 234,Santa Maria,CA 93456
                                                     2.77 Sanw Barbara County,CP.       Right of Way Fgreement 71/23/92         Lessee(G2ntee~                                                        Michael J. Souza                                         PO Bo:2337.Orcutt,0193657
                                                     2.78 Santa Barbara County,CA       Right of Way Agreement                  Lessee(Gantee)                                                        Roland and Salty Miller                                  3028 Sandy HiI1 lane,Sono Maria,fA 93455
                                                     2.79 Santa Barbara County,CA       MG70033 Right of Wa.Agreement S/1/78    Lessee(Gantee)                                                        Bruce &Julie Gordon                                       2935 E. Uark Ave.,Santa Maria, CA 93455
                                                     2.80 Santa Barbara County,CA      MC-70038 Right of Wav Agreement 5/3/78 Lessee(6rzntee)                                                         Nodlew,Inc                                                PO Box 366,Sank Maria,[A 93456
                                                     2.81 Santa Barbara Gounry,CA      Right of Way Fgreement 11/14/92          Lessee(Grsntee)                                                       lack &Georgette Garvin and George &Catherine Steele      3501 Telephone Rd., Santa Maria,fA 93454
                                                     2.82 Santa Barbaro County,CA      MC657S2 Right of Way Agreement           Lessee(Gantee)                                                        Donald and Richard Vncent                                Z30 Wincherter Canyon Rd., Goleta,CA 93317
                                                                                       12/19/91
                                                      2.83 Santa Barbara County,Cq     VO-RW-1                                  Lessee (Grantee)                                                      Bradley Wnd Company                                       PO Box 1932,Sanu Maria, CA 93456
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                                                      2.86 Santa Barba2 County,CA      VPRW-6                                   Lessee(Gantee~                                                        Bradley land Company         ~                            PO Box 1932,Santa Maria,C4 93456
                                                      2.855anta Barbaa County,CA       VO-RW3                                   Lessee (Grentee~                                                      Bradley land Compa~ry                                     PO Box 1932,5anb Maria,CA 93456
                                                      2.S65anG Barbara County,G1       SMVC-6 Amend to ROW                      Lessee (Grantee)                                                      Bredley Land Company                                      PO Box 1932,Santa Maria, CA 93456
                                                      2.87 SanU Barbara County, CA     MC-70117 RO'N Agree                      Lessee(Gantee)                                                        Bratlley Land Company                                     PO Box 1932,Santa Maria.CA 93456
                                                      2.88 Santa Bartars County,CA     MC~569-1ROVJ Agree dtd                   Lessee(Grantee)                                                       Bradley Land Company                                      PO Box 1932,Santa Maria, G193456
                                                      2.89 Santa Barbara County,CA     MC-85315                                 lessee(Grantee)                                                       Bradley Wed Company                                       PO Box 1932,Santa Maria,CA 93456
                                                      2.90 Santa Barbara County,CA     MC-06562                                 Lessee ~G2ntee)                                                       Bradley land Company                                      PO Box 1932,Santa Maria, CA 93456
                                                      2.91 Santa Barham County,CA      MC-06559                                 Lessee (Grantee)                                                      Badiey Land Company                                       PO Box 1932,Santa nnaria, CA 93456
                                                      2.92 Santa Barnard County,CA     ROW Agreeme~rt MC X61                    Lessee(Gantee)                                                        Bradley Land Canpany                                      PO Box 1932,Sanw Maria, CA 93456
                                                      2.93 Santa earha2 County,CA      ROW Agreem?nt MC ff741                   lessee(6rsntee)                                                       Bradley Land Company                                      PO Bmc 1932,Santa Maria,CA 93456
                                                      2.9a Sanw Barbara County,CA      ROW Agreement MC{S5g5                    Lessee(Grantee)                                                       Bradley land Company                                      PO Box 1932,Santa Maria,CA 93456
                                                      2.95 Santa Barbara County, CA    MC-6586                                  lessee(Gantee)                                                        82dley land Gompa~ry                                      PO Box 1932.Santa Maria,CA 93456
                                                      2.% Soma Barbara Cowry,CA        SMVG2A & 28                              Lessee(Gnncee)                                                        Badley WM Company                                         PO Box 3932,Santa Maria,CA 93456
                                                      2.97 Santa Barbara County,fA      ROW Agreem=n[SMV57576                   Lessee(Grantee)                                                       B2dley lantl Company                                      PO Boz 1932,Santa Maria,fA 93456
                                                      2.98 Santa Barbara County,CA     Shell Letter AgreementMC-06589           Lessee(Gantee)                                                        Bradley Land Company                                      PO Box 1932,Santa Maria, CA 93656
                                                      2.99 Sang Barham County,fA        Lease Agree rent 3/1/17                 Tenant                                       evergreen                6LR,LLC                                                   45 Rockefeller Plaza,Suite 2410, New York NY 10111
                                                     2.100                              Settlement Agreement                     Ope2mr                           ~          12/33/2019 Notice 0011   Ulifomia's Dept of Conservation, Division Of Oil &Gas     801 K St., MS 24-03,Sacramento,6195814
                                                     2.101                              Settlement Agreement                     Payor                                   12 in5tallmentz               Hunton Mdrevrs Kurth LLP                                 600 T2vi5 Street,Suite 6200, Houston,T% 77002
                                                     2.102                              Settlement Agreement                     Payor                                    3 installments              Brian Corson                                              2990 Lichen Place,Templeton,fA 93465
                                                     2.103                              Settlement Agreement                     Payor                                    2installments               Padfic Petroleum Company                                  P.O. Box 2646, Orcutt, CA 93457
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                              EXHIBIT "2"
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~~                                                                                                         ~,~~ ,~ ray .
                                      SANTA MARIA REFII~TING COMI'f1I+tY
                                     1 C60 5inton Road -Santa Maria, C~1 9354

                                      CRUDE OIL PURCHASE Ct~f~TRACT
                                          CONTRACT NO. COP-003



         Upon full e~ecuiion hereof by the parties; this contract ("Contract") shall evidence the agreement
         Ueriveen Santa Maria Refining Company, hereinafter "Buyer", and Grelca SMV,Inc. as operator
         of the interests owned Uy Grelca AM, I~ic. ("Greka") and Sabaao], Inc. ("Sabacol"), hereinafter
         collectively "seller", under the terms of which Seller agrees to sell and deliver, and Buyer agrees
         to purchase and receive, tl~e Hereinafter described crude oil andlor condensate upon tI~e Following
         terms and conditions.

         Buyer Receives-

         I.       T]CR1VI:
                  Effecrive August 1, 200,and conrinurng for five (5} years tl~erea$er.
                  I'urtl~er, Buyer has the option to renew this Contract for an additional five {5} year term
                  by providing notice of same to Seller prior to expiration,

         lI       TYPE OF I~IL:
                  Belridge Heavy Crude Oil

         II.I..   QTJA.NTxTY:
                  A]1 quantities from production of Leases (Belridge, Gibson and McT'1~ail).

         N.       73ELIVERY:
                  F.O.II. various Leases(BeMd~e, Gibson and McPhail)located in Kern County,
                  California. Title shall pass from Seller to Buyer as crude ail passes through tl~e last outlet
                  flange ofthe lease #auk manifold at designated Leases.

         v.       r~c~c:
                  The price per barrel shall be the average of Chevron, Mobil, Union and Equiva posted
                  prices for ]3eIridge Heavy Crude Oil, adjusted for actual gravity delivered.

         VT.      N~EASUR~IVIENT: J✓ y Ti~}'l~/~ ~`~Gi~ 7~ Ei~ f/~72/r'I~ ~~ l~'~~7d/r~l~ .~G,~-L.u~'
                  Note: ACT eter 'll be e fog• m a rem t s well s c tan gr 'ty; o e   '
                                                                                      A Q ~Nk~'~-
                  ver" ed by et`me Vo] e a bef~Y in b LAC           an v fie~~~ej~',
                  an will red ed b tea ount/5f-~ de~ ' d~ re~ l~                    t

                  ~
                  -rl-~~'Tickets and any other notices or documents shall he mailed to tlYe addresses
                  below.

         VII.     ~'AY14'i~PJT:
                  Via Checic, in US dollars on or before the 20`'' of ttie month following delivery.

         VIII. SUCC~S50RS AND ASSIGNS:
               Nothing in this Contract shall limit Grelca's or 5abacal's righ# to sell, exchange, or
               otherwise dispose of any interest in a Lease subject to this Contract or any interest in
               production therefrom. Seller will notify Buyer promptly following any sale, exchange or
               other disposition of interests in any ofthe Leases subject to this Conh~act. With respect to
               any interests that are sold, exchanged or otherwise disposed of, this contract shall be
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            binding on buyer and the successors in interest to Grelca and Sabacol ofsuch interests in
            tl~e Leases without the prior written consent of Buyer.

    IX.     ENTIRE A~R~~C]YI]ENT:
            T]Zis Contrttct cansritutes the entire agreement and supersedes ai] prior agreements and
            understandings, hoth r~~ritten and oral, beriveen the parties hereto with respect to t1~e
            subject matter hereof, and nfl party shall be liable or bound to the other in any manner by
            any representations or ti~+arranties not set forth herein.

    ~+.      C:~UNT~RPAI2.TS:
             This Contract may be executed in one or more counterparts by person or by facsimile,
             each of wliiah shall for all purposes be deemed to be an original and all of which shall
             canst~tute thz same instrument.

    XI.      iYIODII+ICATION A,NA WA1V:~Tt:
             Any ofthe terms or conditions ofthis Contract maybe waived in writing aC any rime by
             the parry which is entitled to the benefits thereof, and this Contract may be modified or
             amended Uy a written insin~ment e.cecuted by all ofthe parties hereto. No supplement,
             madificatian or amendment o~#his Contract shall be binding unless executed in writing
             by all of the parties hereto. No waiver of any ofthe provisions ofthis Contract shall be
             deemed or sha~tl aonslitute a waiver ofany other provision hereof{whether or nr~t similar)
             npx shall such waiver cpnstitute a continuing waiver.

     XI.     GOVERNING LAW• CfJNSENT TO TCJ1tISDICTIONc
            'X'his Contract shall ~e construed in accordance with the laws ofthe State of California.
             The parties hereto expressly consent and agree that any dispute, controversy, legal action
             or ocher proceeding that arises under, results from,concerns ar relates to this Contract
             shell be brattgl~t in the federal or state courts in and oftlie Sta#e of Californifl in the
             Central District of California or the County of Santa Barbara, respecrively. The parties
             hereto heretay aclrnowledge #hat said courts have exclusive jurisdiction over any such
             dispute or controversy, and that they hereby waive any objection to parsonnl jurisdiction
             or venue in these courts or that such courts are an inconvenientforum.

     XII.    'I"Ill~:
             Time is ofthe essence with respect to this Contrack.

     XIII. It~I+~I2MATION AN:D SEVER.ABIZITY:
           In case any provision offlits Contract shall be invalid, illegal or unenforceable, it shall, to
           t11e extent possible, be modified in such manner as to be valid, Legal and enforceable but
           so as to mast nearly retain the intent ofthe parties, and if such modification is not
           passible, such prevision shall be severed from flats Contract, and in either case the
           ~~alidi#y, legality and enforceability ofthe remaining provisions ofthis Contract shall not
           in any way be affeafied or impaired thereby.


     This contract is subject to Buyer's genera] provision far crude oil sale(purchase/exchanges (as the
     same may be revised from time to time),which are being pravid~d by Buyer to Seller herewith
     end w1_?ich are incorporated herein by reference.

     [THL RF,tvLA.:~NllER OI'THIS PAGE IS INTENTIONALLY LEFT BLANK]




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    IN W1TNE5S WII~RGO~', this Contract has been executed as o~ date first written ab     e.




    SANTA Iv1ARl'A REI'IN1NG COMPANY
                                                                 iii
                                                                 ~
                                                                 ,                     (~'      -~t
           Brent Stromberg, General I~na~er                      S. r wal, Ch., C`~C} &Pre
           1660 5inton Road                           3             ]t Dr., Suite ?01
           S~~nta Maria, CA 9354                      S           'a, CA 934

                                                                 3~TC.
                                                                 l
                                                                               n    ~



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                                                            de ~ G~~re mil; G ., C. ~ & Pres,     r
                                                      3~        ar~Dr., Suite 2Q1
                                                      Santa Maria, CA 93455




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                               1660 Sinton Road -Santa Maria, CA 93454

                       CRUDE OIL PURCHASE CONTRACT AMENDMENT
                          AN~I1'DED CONTRACT NO. COP-003/AX



    ~fFective FeUniary 1, 2002, the following terms) of that certain Contract No. COP-003 entered
    into as of August 1, 2000 by and between the undersigned are hereby amended in their entirety as
    folla~vs:

            v.      r~cc~:
                    The price per barrel s11a11 be tl~e average of Chevron, Mobil, Union and Equiva
                    posted prices far Belridge Heavy Crude Oil, adjusted for actual ~;t'avity delivered;
                    provided, however, that, notwithstanding the foregoing, in no avent shall the
                    price per barrel be less than fifCeen dollars ($15.00).



    All other ternis and conditions of Contract No, COP-003 shall remain unchanged and in full force
    and efi'ect.

    IN WITNESS WII~ItEOF, this amendment has been executed as ofthe date first written above.



                                                     OPERATOR:

    SANTA MARU1 REI~INING COMPEINY                   GREKA        V,INC.                 j
                                                                                        1;
                                                       r-,.
    s~:                   ~ ,~~~
           $rent Stromberg
           VP-Downs~eam Operations                            Secretary


                                                     QWNER:

                                                     GREKA




                                                              Secretary




                                                         ~i~.~
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                               SANTA MA.RiA REFINING COMPANY
                              1660 Sinton Road -Santa ivlarin, CA 93454

                      GRUUE OtL PI~RChlASE CONTRACT ~4M~NDM~NT
                         AMENDED COPITRA.CT N(~. CQP-003lA2



    Effective January 1, 2004, the following term{s) of that certain Contract No. COP-003 entered
    into as of August 1, 2Q0(}, as amended, by and between the undersigned are hereby amended by
    adding the following text:

           Irv. rr~cs•
                   In additit~n to the price per barrel, a $0.50 per barrel marlceting and handling fee
                   and a ~2.OD per barrel transportation charge.


    All other terms anc~ conditions of Contract No. CAP-QQ3, as amended,shall remain unahangecl
    and in full force end effect.

    TN WITNESS tiVIIEREOF,this arnendrnent has been ehecuted as of the date first written above.




    BUYER:                                           SELLER:

    SAI~'1'A M.Al2IA REFINING COMPANY                GRET~A C}~ ~i GAS,INC.


    IlY:   ~9,L~i'iw~,,~i~-,.,~~r.~.~L2f             BY:
            Brent Stromberg                                    s n ivl. Whalen
            VP Dawmstream Operations                         VP Asset Ivlanagement




                                                              ~.:~
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                               SANTA MARIA R.EFINTNG COMPANY
                              166d'Sinton Road -Santa Maria, CA 93454

                      CRUAE OtL PURCHASE CONTRACT AMENDMENT'
                          AM~N~~D CONTRACT'NO. COP-003/A3



    Effective August 1, 20D5, the following terms) of that certain Contract No. COP-003 entered
    into as of August 1, 2000, as amended, ~y and between tl~e undersigned are hereby amended by
    deleting the text in their entirety and replacing same with tine following text:

           I.      TERM:
           ^       Effective August 1, 20 5 and continuing month-to-month thereafter subject to
                   cancellation by thirty(30)days written notice by either party to the othar.


    A[l other terns and conditions of Cont~•act No. COP-403, us amended, stall remain unchanged
    and in t'ull 'force and effect.

    1N WITNESS WHEF~OF,this amendment has been executed as ofthe date first written above.



    BUYER:

    SANTA       RIA REFINING COIuIPAI~IY


    $Y:                ~L~"                                                                        ~..
           S son M. Whalen
           VP Asset Management and General Counsel                Chairman, CEO & Prasictent




                                                    '~<~~
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                               SANTA M11RIA RI~FII~iII~1G COMPANY
                              1660 Sinton Road -Santa Maria, CA 93454

                      CRUDE OIL. i'URCHASE CONTRACT AMENF]MI~Ni'
                         AN.[~NDED CONTRACT NO. C(JP-0031A~1



    EfFective Ja~~uary 1, 2007, the following terms) of that certain Contract No. COP-003 entered
    iota as of August 1, 2000, as amended, by and bah~veen the undersigned are Isereby amended as
    follows:

           V.      PRICE:
                   All references to posted prices shall be the average of Chevron Tsxacn, Shell
                   Trading, Union76, and E~c~con Mobil posting for Midway Sunset in effect for the
                   month of delivery, adjusted for actual gravity delivered.


    All other terms and conditions of Contract No. COP-003, as amended, sl~al l remain unchanged
    and in full force and effect.

    II I WITNESS WI-IEREOF,this amendment has been executed as ofthe date first written ttbove.



    BUYER:                                                     LL

    SANTA iv~'Y~TtIA REFINII~tG COMP.                      G               GAS INC.


                                                           B
            usan M. Whalen                                           a       . Grewal
           VP Asset Management and General Counsel                  Chairman, CEO &President




                                                            ~~
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                                             SANTA IvIAFti,A REFIN[NG COMPANY
                                            1fi6D Sintnn Road -Santa Maria,CA 93454

                                       CRUDE OIL PURCHASE CONTRACT AMENQMENT
                                          AM~NDL~D CC~NTRA.CT NO. COP-0031A5



                Effective October 1, 2007 the following terms) of that certain Contract No. CAP-D03 entered
                into as of August 1, 2000, as amended, by and between the undersigned were amendad, and are
                hereby ratified as amended,as follows:

                       V.      PRIG:
                       u       All references to posted prices shall be the average of Chevron Texaco, Shetl
                               Trading, Union76, and Exxon Mohil posting far Buena Vista in effect for the
                               month of delivery, adjusted for actual gravity delivered; Less $.075 per barrel
                               transportation differential.

                       xrv, r~~s:
                               Less $0.50 per barrel marketing and Dandling fee.



                All ntlyertertns and canditians of Contractlao. COP-OD3, as amended,shalt remain unchanged
                and in full force and effect.

                iN WITNESS W~-J~R.~O~,this amendment has been executed as ofthe date first written above.



                BUYCR:

                S~NTI~ N Ai~~-A t~~F'IN•lT1G ~Qtv(3' l~tY

                             ... _ .
                t3Y:                    "-~
                       ~ ts~r~ ivt,'~"~li~l~r~
                       5VP ~zicf ~P~nera1 Counsel                              y!14t111{411   u.uu a.i.:v




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~r'. ~~--
 `                                                                     S ,M
                                                                          ~
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                              EXHIBIT "3"
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                                    SANTA MARIA 12.EI'INING GOMPAN~
                                   1650 Sinton Roed -Santa Maria, CA 93454

                                   CRUDE OIL PURCHASE CONTRACT
                                       CON~'RACT NO. COP~00~


  Upon full execution hereof by the parties, this contract("Contract') shall evidence tl~e agreement between
  Santa Maria Refining Company, hereinafter 'Buyer", and Gr~ica Oil &Gas, Inc., hereinafter "Seller",
  under the ternls of which Seller agrees to sell and ~IelivCr, and Buyer agrees to purchase and reoeive, the
  Uereinafter described crude oil andlor condensate upon tl~e following terms and condifiians.

  I.      TERM:
          Effective Tune 1, 2009 and continuing month-to-month thereafter subject to canoellatian by thirty
         (30) days written notice lay either party tc~ the other.

  II     TYPE OF AIL:
         Riel~field crude oil

  III.    QUAN`~ITY:
          All quantities of production from the leases within the Richfield East Dome Unit

  N.      D~LIV~RY:
          Into third party pipeline facilities at the lease. Title shall pass from Seller t~ Buyer as crude oil
          passas tl~rougli the last outlet flange on tl~e leases into die third party pipeline,

  V.     PRIG.
         Tl~e price per barrel shall be fihe average of ChevronTexaco,i7nion76,& ExxonMobil postings
         fnr Buena Vista I3iIls, adjusted for actual graviTy delivered.

  ~.      NICASUREM~NT:
          All measurern~nt equipment, procedures, calculations and practices shall conform to the most
          curranfi API Manual ofPetroleum Measurement Standards(MI'MS)and the latest revisifln ofthe
          ASTM Standards.

          Seller will not be requirad to invoice Byer. Instead, Buyer will use third party run ticic~ts to
          determine remiktance amount,

  VII.    PA3tNl~.NT:
          Via «sire transfer or check, in US dollars on or before the 20'h of the month following delivery,
          unless o~I~envise accounted for betwee~~ the parties.

  VIII. SUCCESSORS AND ASSIGNS:
        Nothing in this Contract shall limit Seller's right to sell, exchange, or otherwise dispose of any
        interest in a Lease subject to this Contract or any interest in production therefrom. Seller will
        notify Buyer promptly following any sale, exci~ange or other disposition ofinterests in any oftBe
        Leases subject #o this. Contract. W ith respect to any interests tiiat ara sold, axcl~angcd or otherwise
        disposed of, this Contract shall be lainding an Suyer and the successors in interest to Seller of
        such interests in tf~e Leases without tI~e prior written consent of Buysr.

  FX.     ~N`~'IR~ AGREEMCNT:
          This Contract constitutes the entire agreement and supersedes all prior agreements and
          understandings, both written and oral, between the parties hereto with respect to tl3e su6jeot
          matCer heranf, and no party shall be lia~te or bound to the other in any manner by uny
          representations or warranties not set fortly herein.
                                                                                                                  ~./

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 X.      COUNTERPARTS:
         Tl3is Contract ~~iay be executed in ane or more counterparts by person or by facsimile, each of
         which sll~ll for all purposes be deemed to be an original and all of which s1~all constitute tl~e sgme
         instrument.

 XI.      M{~I~S~CATION AND W~IV~R:
          Any of tl~e terms or conditions aftltis Contract may 6e waived in writing at any time by the party
          wl~icli is entitled to fil7e benefits thereof, and this Contract may be rn~difed or amended by a
          written instrument executed try all oft11e rii['~1~5 ~10f~1'C1. No snpPtement, modification or
         amendment ofthis Contract shalt be binding unless executed in writing by all ofthe pArkies
         [iereto, I'~Ta waiver of any of the provisions offihis Conh•act shall be deemed or shall constitute a
          waiver of any other provision hereof(whether ~r not similar) nor shall such waiver constitute a
         continuing waiver.

 XI.     G(iV~~1lNG LAW CONSENT TO'JURiSDICTION:
         This Contract shat! be construed in aoeordance with the laws ofthe State of California. Tile
         parties hereto expressly consent and agree that any dispute, controversy, legal action or other
         proceeding that arises under, results from, concerns or rebates t~ this Contract shall Ue brought in
         t(~e federal ar state courts in and ofthe State of California in ttie Central District of California or
         the County of Santa Barbara, respectively. Tl~e parties hereto hereby acicnawledge thot said courts
         have exclusive j~irisdictic~n aver any such dispute or oantroversy, and that they hereby wAive any
         objection to personal jurisdiction or venue in these courts or that such courts are an inoonvaniant
         forum.

 III.    '~IC~:
         Time is ~f tine essei~ca with respect to #his Contract,

 7iIII. R~~'OI2MATI(lN t~ND S~V~R.A.BTLX'.f'X:
        In case any provision of this Contr•~ct shall be invalid, illegal or unenforceable, it shall, to the
        extent possible, be modified in such manner as to be valid, legal and enforceable but so as to most
        nearly retain the intent oftl~e parties, and if such modification is not passible, sucd~ provision shall
        be severed from finis Contract, and in either case the validity, legality and enforceability o~Fthe
        remaining provisions ofttxis Contract shall nat in any way be affected or impaired thereby.

 XIV. F~~S:
      In addition to the price per barrel, a $OAS per bane] marketing and handling fee.

 This contract is subject to Buyer's general provision for crude nil sate/purchase/exchanges(as the same
 maybe revised from fiime to time), wl~icl~ are being provided by Buyer to Seller herewi#h and which are
 incorporated herein by reference,

 IN VJI7'NESS WR.EItEOF, tlxis Contract has been executed as of tl~e date first written above.

 SANTA           A TLEFINING COMP                   GREKA OIL &. GAS,INC.
                                                            .r
                          Q                                   ;~

         Sus1n M. Whalen, ~                                 Andrew DeVegvar
         SVP and General Counsel                            COO and President
         1660 Simon Road                                    PO Box 5489
         Santa Maria, CA 9345                               Santa Maria, CA 93456




                                                                     ~~j
                                                                     F
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                                      SANTA MARIA REPINR~IG COMPANY
                                     1660 5inton Road -Santa Maria, CA 93454

                                CRUDE tali. PURCHASE CQNTF2ACT AMENDME(V7
                                   AMENDED CON'T'RACT'NO. COP-OOd/A1



         Effective 5eptemUer 1, 2010 tl~e fallowing tarm(s) of that certain Contract No, COP-OD4 entered
         into ~.s of June 1, 2009 by and between the undersigned were amended,and are hereby ratified as
         Amended, as follaw~:

                V.        PRIG•
                          A11 references to posted prices shah be the average of ChavronTexaoo, Union7b,
                          & ExxonlvlobiJ postings far Buenu Vista in affect for the month of delivery,
                          adjusted for actual gravity delivered; less $2.13 per barrel market differential.

                X[V.        + +~5:
                           Less ~6.OS per barrel murlceting and handling fee.



         All other terms and oontlitions of Conhact No, COP-004, es amended,sllali remain unchanged
         and in ft~ll force and effect.

        IN WI'I'N~SS VJIiEI~EOF, this amendment has been executed as ofthe date first written above.



         BUYER:

         SAN'C~1 `?`~t~Tt~ it1~N~N~ CC3Ivi~' 3~IY


                     -~-•-::.
                                         .      ~__._
                 ti its tv~.1~V]i~len
                    VI' antt Genera]. Gou,ns~~.                             Chairman and CBO




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                                   GR~KA REFINING COMPANY
                               1660 Sintan Road -Santa Maria, CA 93454

 •                     CRUDE OIL PURCHASE CONTRACT AMENDMENT
                           AMENDED CONTRACT NO. COP-004/A2



     Effective December 1, 2013 the following terms) of that certain Contract No. COP-004 entered
     into as of.Tune 1, 2009 by and between the undersigned were amended, and are hereby ratified as
     amended, as follows:

             V.     PRICE:
                    All references to posted prices shall be the average of ChevronTexaco, Union76,
                    STUS+CO, & ExYonMobil postings for Buena Vista in effect for the month of
                    delivery, adjusted for actual gravity delivered; Less $5.75 per barrel market
                    differentia].




     All other teams and conditions of Contract No. COP-004, as amended, shall remain unchanged
     and in full force and effect.

     TN WITNESS WHEREOF,this amendment has been executed as of the date first written above.



     Ci                                                     SELLER:

     GREKA REPINING COMPANY                                 HVI CAT CANYON,INC.


     BY:                                                    BY:                                  w~
              teve 7. Deinott,President                            Al       i   trijevic, Pr ident




                                                           ~~ ~~~ ~)
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                                      PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE'S NOTICE OF MOTION AND MOTION FOR
ORDER AUTHORIZING THE REJECTION OF OIL PURCHASE CONTRACTS(CONTRACT NO. COP-003 FOR BELRIDGE
CRUDE OIL AND ALL AMENDMENTS AND CONTRACT NO. COP-004 FOR RICHFIELD HEAVY CRUDE OIL AND ALL
AMENDMENTS) WITH CALIFORNIA ASPHALT PRODUCTION, INC., FORMERLY KNOWN AS SANTA MARIA REFINING
CO. AND GREKA REFINING COMPANY; MEMORANDUM OF POINTS AND AUTHORITIES, DECLARATION OF
MICHAEL A. MCCONNELL AND REQUEST FOR JUDICIAL NOTICE IN SUPPORT THEREOF will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On November 27,
2019 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                       D Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On November 27, 2019 , I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


Debtor                                          Debtor                                             The Honorable Martin R. Barash
HVI Cat Canyon, Inc.                            HVI Cat Canyon,lnc.                                U.S. Bankruptcy Court
c/o Capitol Corporate Services, Inc.            630 Fifth Avenue, Suite 2410                       21041 Burbank Blvd., Suite 342
36 S. 18th Avenue, Suite D                      New York, NY 10111                                 Woodland Hills, CA 91367
Brighton, CO 80601

Capital Asphalt Production, Inc.                 Capital Asphalt Production, Inc.                  Capital Asphalt Production, Inc.
Capitol Corporate Services, Inc., Agent          Capitol Corporate Services, Inc., Agent            and other affiliates of the Debtor
for Service of Process                           for Service of Process                            Susan M. Whalen, Esq.
206 E. 9'h Street, Suite 1300                    PO Box 1831                                       The Law Office of Susan M. Whalen
Austin, TX 78701                                 Austin, TX 78767                                  2806 Alta St./P. O. Box 938
                                                                                                   Los Olivos, CA 93441

                                                                                       ❑ Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on November 27, 2019, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

BY EMAIL Susan M. Whalen, Esq. susan@whalenattorney.com

                                                                                       ❑ Service information continued on attached page.

 declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 November 27, 2019                        Beverly Lew                                                 ~~ ; v
 Date                                     Printed Name                                          Signat e




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
William C Beall on behalf of Creditor GLR, LLC             will@beallandburkhardt.com, carissa@beallandburkhardt.com

Alicia Clough on behalf of Creditor California State Lands Commission
aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com

Marc S Cohen on behalf of Creditor California State Lands Commission                      mscohen@loeb.com, klyles@loeb.com

Alec S DiMario on behalf of Creditor Direct Energy Business Marketing, LLC d/b/a Direct Energy Business
alec.dimario@mhllp.com, debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com

Alec S DiMario on behalf of Creditor Direct Energy Business, LLC
alec.dimario@mhllp.com, debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com

Karl J Fingerhood on behalf of Interested Party United States of America on behalf of USEPA and US Coast Guard
karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov

H Alexander Fisch on behalf of Interested Party California Department of Fish &Wildlife
AIex.Fisch@doj.ca.gov

H Alexander Fisch on behalf of Interested Party California Regional Water Quality Control Board, Central Coast
AIex.Fisch@doj.ca.gov

Don Fisher on behalf of Interested Party Interested Party            dfisher@ptwww.com, tblack@ptwww.com

Brian D Fittipaldi on behalf of U.S. Trustee United States Trustee              brian.fittipaldi@usdoj.gov

Gisele M Goetz on behalf of Interested Party Courtesy NEF               gmgoetz@hbsb.com, ggoetz@collegesoflaw.edu

Karen L Grant on behalf of Creditor BUGANKO, LLC                     kgrant@silcom.com

Ira S Greene on behalf of Interested Party CTS Properties, Ltd.                 Ira.Greene@lockelord.com

Matthew C. Heyn on behalf of Creditor Department of Conservation, Division of Oil, Gas and Geothermal Reources
Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com

Brian L Holman on behalf of Creditor Bradley Land Company                       b.holman@musickpeeler.com

Eric P Israel on behalf of Attorney Courtesy NEF
eisrael@dgdk.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Eric P Israel on behalf of Trustee Michael Authur McConnell (TR)
eisrael@dgdk.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Razmig Izakelian on behalf of Creditor GIT, Inc.           razmigizakelian@quinnemanuel.com

Alan H Katz on behalf of Interested Party CTS Properties, Ltd.                  akatz@lockelord.com

John C Keith on behalf of Creditor California State Lands Commission                      john.keith@doj.ca.gov

Jeannie Kim on behalf of Interested Party Pacific Gas and Electric Company jkim@friedmanspring.com

Maxim B Litvak on behalf of Creditor Committee Official Committee of Unsecured Creditors                       mlitvak@pszjlaw.com

Michael Authur McConnell (TR)          Michael.mcconnell@kellyhart.com

Brian M Metcalf on behalf of Interested Party UBS AG, London Branch                       bmetcalf@omm.com

David L Osias on behalf of Creditor Allen Matkins Leck Gamble Mallory & Natsis LLP
dosias@allenmatkins.com, bcrfilings@allenmatkins.com,kdemorest@allenmatkins.com,csandoval@allenmatkins.com
        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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Darren L Patrick on behalf of Interested Party UBS AG, London Branch                      dpatrick@omm.com, darren-patrick-
1373@ecf.pacerpro.com

Jeffrey N Pomerantz on behalf of Creditor Committee Official Committee of Unsecured Creditors
jpomerantz@pszjlaw.com

Todd C. Ringstad on behalf of Interested Party Interested Party                 becky@ringstadlaw.com, arlene@ringstadlaw.com

Mitchell E Rishe on behalf of Creditor California Department of Conservation, Division of Oil, Gas &Geothermal Resources
mitchell.rishe@doj.ca.gov

Mitchell E Rishe on behalf of Creditor Department of Conservation, Division of Oil, Gas and Geothermal Reources
mitchell.rishe@doj.ca.gov

Sonia Singh on behalf of Trustee Michael Authur McConnell (TR)
ssingh@DanningGill.com, danninggill@gmail.com,ssingh@ecf.inforuptcy.com

Daniel A Solitro on behalf of Interested Party CTS Properties, Ltd.             dsolitro@lockelord.com, ataylor2@lockelord.com

Ross Spence on behalf of Interested Party County of Santa Barbara, California
ross@snowspencelaw.com,
janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com

Ross Spence on behalf of Interested Party Harry E. Hagen, as Treasurer-Tax Collector of the County of Santa Barbara,
California
ross@snowspencelaw.com,
janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com

Ross Spence on behalf of Interested Party Santa Barbara Air Pollution Control District
toss@snowspencelaw.com,
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         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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